                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Gregory Cole                                                       Docket No. 4:14-CR-74-2D

                               Petition for Action on Supervised Release

COMES NOW Jay Kellum, U.S. Probation Officer of the court, presenting a petition for modification of
the Judgment and Commitment Order of Gregory Cole, who, upon an earlier plea of guilty to Distribution
of a Quantity of Cocaine Base (Crack) and Aiding and Abetting, in violation of21 U.S.C. §§ 84l(a)(l) and
84l(b)(l)(C) and 18 U.S.C. § 2, was sentenced by the Honorable James C. Dever III, U.S. District Judge,
on October 6, 2015, to the custody of the Bureau of Prisons for a term of 48 months. It was further ordered
that upon release from imprisonment the defendant be placed on supervised release for a period of 36
months.

Gregory Cole was released from custody on July 24, 2018, at which time the term of supervised release
commenced.

On April 4, 2019, a Violation Report was submitted to the Court after the defendant committed two separate
offenses of Driving While License Revoked Not Impaired Revocation in Lenoir County, North Carolina.
At that time, it was recommended that supervision be permitted to continue with no additional sanctions.

On April 24, 2019, a Violation Repot was submitted to the Court advising Cole tested positive for marijuana.
At that time, it was recommended that supervision be permitted to continue thus allowing Cole a chance to
participate in an approved course of treatment.

On June 25, 2019, a Petition for Action was approved by the Court placing Cole on a curfew and electronic
monitoring for a period not to exceed 30 consecutive days.

On July 30, 2019, a Petition for Action was approved by the Court placing Cole on home detention and
electronic monitoring for a period not to exceed 30 consecutive days.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On October 7, 2020, Cole was charged with Speeding and Driving While License Revoked Not Impaired
Revocation by the North Carolina State Highway Patrol. On October 13, 2020, the undersigned probation
officer confronted Cole with his violation conduct, at which time he admitted his wrongdoing. Cole was
verbally reprimanded for his conduct and expressed remorse for his actions. As a sanction for his conduct,
it is respectfully recommended that Cole be placed on a curfew and monitored with Location Monitoring:
Radio Frequency equipment for a period not to exceed 60 consecutive days. The defendant signed a Waiver
of Hearing agreeing to the proposed modification of supervision.




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PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

    1. The defendant shall adhere to a curfew as directed by the probation officer for a period not to exceed
       60 consecutive days. The defendant is restricted to their residence during the curfew hours. The
       defendant shall submit to the following Location Monitoring: Radio Frequency monitoring and
       abide by all program requirements, instructions and procedures provided by the supervising officer.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                                I declare under penalty of perjury that the foregoing
                                                      is true and correct.


Isl David W. Leake                                    Isl Jay Kellum
David W. Leake                                        Jay Kellum
Supervising U.S. Probation Officer                    U.S. Probation Officer
                                                      200 Williamsburg Pkwy, Unit 2
                                                      Jacksonville, NC 28546-6762
                                                      Phone:910-346-5109
                                                      Executed On: October 14, 2020

                                       ORDER OF THE COURT

Considered and ordered this      f S'"   day of    (j c h,E, a,.\_        , 2020, and ordered filed and
made a part of the records in the above case.


ia~ C. Dever III
U.S. District Judge




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